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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TIMOTHY JOHNSON, and            )
DARRYL MOORE, individually      )
and on behalf of all others     )
similarly situated,             )
                                )
          Plaintiffs,           )                     No. 16 C 6776
                                )
                      v.        )                     Judge Jeffrey I. Cummings
                                )
DIAKON LOGISTICS and WILLIAM C. )
JARNAGIN, JR.,                  )
                                )
          Defendants.           )

                          MEMORANDUM OPINION AND ORDER

       Plaintiffs Timothy Johnson and Darryl Moore bring this action individually, and on behalf

of all other similarly situated delivery truck drivers, alleging that defendants, Diakon Logistics

and its officer William C. Jarnagin, Jr., violated the Illinois Wage Payment and Collection Act

(the “IWPCA” or the “Act”), 820 ILCS §115/1 et seq., by classifying them as independent

contractors, instead of employees, which resulted in unlawful deductions from their wages.

Plaintiffs seek reimbursement on behalf of a class of drivers in Illinois who signed certain

Service Agreements with Diakon.

       On remand from the Seventh Circuit, see Johnson v. Diakon Logistics, Inc., 44 F.4th

1048, 1050 (7th Cir. 2022) (“Johnson I”), the Court rules on the parties’ cross motions for

summary judgment, (Dckts. ##264, 265, 268, 272). Through their motions, plaintiffs seek

summary judgment on the questions of whether: (1) they are employees under the IWPCA,

(Dckt. #264); (2) the IWPCA applies to all work plaintiffs and the other class members

performed in this case; and (3) the deductions Diakon took from plaintiffs’ and class members’

pay in reliance on the Service Agreements and promissory notes were authorized within the


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meaning of the IWPCA. (Dckt. #268). In its motion, Diakon seeks summary judgment on the

grounds that the IWPCA does not apply to plaintiffs (on both statutory definition and

extraterritoriality grounds) and that the challenged deductions fall under one or more statutory

exceptions. (Dckt. #275). Finally, Jarnagin renews his motion for summary judgment and

asserts that he has no personal liability for the alleged IWPCA violations. (Dckt. #265).

         For the reasons stated below, plaintiffs’ motion for summary judgment, (Dckt. #268), is

granted in part and denied in part; plaintiffs’ renewed motion, (Dckt. #264), is granted; Diakon’s

motion, (Dckt. #272), is granted in part and denied in part; and Jarnagin’s motion for summary

judgment, (Dckt. #265), is granted.

I.       LEGAL STANDARD ON SUMMARY JUDGMENT

         Summary judgment is appropriate when the moving party shows “that there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter of

law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). “A genuine dispute is present

if a reasonable jury could return a verdict for the nonmoving party, and a fact is material if it

might bear on the outcome of the case.” Wayland v. OSF Healthcare Sys., 94 F.4th 654, 657 (7th

Cir. 2024); FKFJ, Inc. v. Village of Worth, 11 F.4th 574, 584 (7th Cir. 2021) (the existence of a

factual dispute between the parties will not preclude summary judgment unless it is a genuine

dispute as to a material fact); Hottenroth v. Village of Slinger, 388 F.3d 1015, 1027 (7th Cir.

2004) (issues of material fact are material if they are outcome determinative).

         When the moving party has met that burden, the non-moving party cannot rely on mere

conclusions and allegations to concoct factual issues. Balderston v. Fairbanks Morse Engine

Div. of Coltec Indus., 328 F.3d 309, 320 (7th Cir. 2003). Instead, it must “marshal and present

the court with the evidence [it] contends will prove [its] case.” Goodman v. Nat’l Sec. Agency,




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Inc., 621 F.3d 651, 654 (7th Cir. 2010); Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 704 (7th

Cir. 2009). Thus, a mere “scintilla of evidence” supporting the non-movant’s position does not

suffice; there must be evidence on which the jury could reasonably find for the non-moving

party. Anderson, 477 U.S. at 248.

           In determining whether a genuine issue of material fact exists, all facts and reasonable

inferences must be drawn in the light most favorable to the non-moving party. King v. Hendricks

Cnty. Comm’rs, 954 F.3d 981, 984 (7th Cir. 2020). Ultimately, summary judgment is granted

only if “no reasonable trier of fact could find in favor of the non-moving party.” Hoppe v. Lewis

Univ., 692 F.3d 833, 838 (7th Cir. 2012) (cleaned up). These standards apply equally to cross-

motions for summary judgment, Blow v. Bijora, Inc., 855 F.3d 793, 797 (7th Cir. 2017), and the

Court considers evidence from all four motions for summary judgment at issue to ensure that

there is no material dispute, Torry v. City of Chicago, 932 F.3d 579, 584 (7th Cir. 2019).

II.        FACTUAL BACKROUND

           The Court draws the factual record from the parties’ pleadings; Diakon’s statement of

material facts (“DSOF”) and its accompanying exhibits, (Dckt. #274 to #274-12); plaintiffs’

response to DSOF (“DSOF Resp.”), (Dckt. #278); plaintiffs’ statement of additional facts

(“PSAF”), (Dckt. #278), defendants’ response to PSAF (“PSAF Resp.”), (Dckt. #284); plaintiffs’

statement of facts (“PSOF”) and its accompanying exhibit, (Dckt. #270 and #270-1); defendants’

response to PSOF (“PSOF Resp.”), (Dckt. #280); defendants’ statement of additional material

facts (“DSAF”), (Dckt. #280); and plaintiffs’ response to DSAF (“DSAF Resp.”), (Dckt. #286).

      A.      The Parties and the Work They Perform

           Defendant Diakon Logistics (“Diakon”) is a Virginia-based, third-party logistics




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company1 that provides furniture and appliance delivery services in a number of states, including

Illinois. (PSOF Resp. ¶1; DSOF Resp. ¶1). Defendant William C. Jarnagin, Jr. (“Jarnagin”)

served as Diakon’s president, chairman, and eventually, chief executive officer. (Dckt. #221 ¶1).

        At all times relevant to this matter, Diakon subcontracted transport and delivery functions

to transportation companies and their drivers through Service Agreements. (DSOF Resp. ¶¶1, 3;

Dckt. #215-3 ¶30 (“To provide deliveries for Diakon, drivers are required to sign a Service

Agreement with Diakon.”)).

        One of Diakon’s customers was Innovel Solutions, Inc. (“Innovel”), a subsidiary of Sears,

Roebuck and Co. (“Sears”). (PSOF Resp. ¶2). To facilitate Diakon’s operations, drivers picked

up goods from Innovel’s Romeoville, Illinois and Granite City, Illinois warehouses, (id. ¶3), then

delivered the products to locations in several states, including Illinois, Missouri, and Indiana.

(DSOF Resp. ¶6; Dckt. #276-4 at 28). Diakon maintained an office at Innovel’s Romeoville

warehouse. (Dckt. #215-1 ¶6).

        Plaintiffs Darryl Moore (“Moore”) and Timothy Johnson (“Johnson”) both provided

third-party delivery services for Diakon. (DSAF Resp. ¶¶6, 11). Moore first delivered product

out of Innovel’s Romeoville warehouse on behalf of MJCAT Trucking (a company owned by

another class member), (id. ¶6), but later signed his own Service Agreement with Diakon dated

June 24, 2014. (Id. ¶¶6–7; Dckt. #274-9). Moore subsequently terminated his Service

Agreement in April 2015. (DSAF Resp. ¶10). During his tenure with Diakon, Moore performed

delivery services for Diakon both inside and outside of Illinois. (Id. ¶9).

        Johnson first contracted with Diakon in November 2011. (Id. ¶11). Johnson terminated



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  Third-party logistics companies handle “the management of transportation, demand forecasting,
information management, industry maintenance, warehousing, and distribution.” (PSOF Resp. ¶4).


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that contract six months later and in June 2012 entered into a new agreement with Diakon on

behalf of his transportation company, EZ Techniques, Inc., (“EZ Techniques”). (Id. ¶12).

Johnson stopped performing delivery services for Diakon in September 2015. (Id. ¶13). During

his tenure with Diakon, Johnson performed delivery services for Diakon both inside and outside

of Illinois. (Id. ¶14).

    B.      The Agreements and the Deductions

         Like Moore and Johnson, the other class members were required to enter Service

Agreements with Diakon. (PSOF Resp. ¶7; DSAF Resp. ¶3). The Service Agreements stated

that the “Contractor and/or its employees” were not to be considered “as having the status of an

employee of [Diakon] for any purpose whatsoever.” (See, e.g., Dckt. #247-8 at 2; Dckt. #247-9

at 2).

         The “Fees” section of the Service Agreements provided that “Contractor shall

receive payment for services in accordance with Exhibit A . . .” (Dckt. #274–8 at 3).

Exhibit A in turn provided as follows:

                 1.      Percental of Revenue. Unless otherwise agreed to in writing
         between the parties, Company shall pay Contractor no less than sixty-two percent
         (62%) of the adjusted gross revenue (“AGR”), which shall be distributed to
         Contractor on a weekly basis. For purposes of this Exhibit, AGR shall mean all
         revenue received by Company from its customers for transportation services
         provided by Contractor under this Agreement after reduction for (1) any non-
         hauling revenue received from Company’s customers, including for warehousing,
         scheduling, storage services as well as any reimbursements made for labor,
         managerial or administration services provided by the Company; (2) the amount
         paid to any third party by Company in relation to the particular shipment handled
         by Contractor, including amounts paid to other contractors as a pro rata payment
         for their participation in that particular movement: (3) any revenue received by
         Company as an excess value or insurance charge; (4) all incentives, discounts or
         commissions given to Company’s customers or other third parties. Any increase in
         the AGR paid to Contractor and not memorialized in a written addendum signed by
         both parties shall be considered a temporary adjustment and may thereafter be
         reduced by Company to no less than sixty-two percent (62%) at the Company’s
         discretion.



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               2.     Chargeback and Deduction Items. The following items shall be
        charged back to or deducted from Contractor’s compensation or from Contractor’s
        Bond Fund in the event that Contractor’s compensation is insufficient:

               (a) Loss and damages provided in Section 6 or elsewhere in this Agreement;

               (b) Any advances or prepayments by Company of cost or expenses to be
        borne by Contractor under this Agreement;

               (c) Any products, equipment or services which Contractor chooses to
        purchase or rent from or through Company; provided, however, that it is understood
        that Contractor is not required to purchase or rent any products, equipment or
        services from or through Company as a condition of entering into this Agreement;

                (d) Any amounts necessary to fulfill Contractor’s performance bond
        obligations as set forth In Section 7 or elsewhere in this Agreement;

               (e) Any insurance related expense which is Contractor’s obligation under
        Exhibit B of this Agreement; or

               (f) Any other expense or cost incurred by Company which is Contractor’s
        responsibility under this Agreement or any exhibit or addendum.

        Deductions and chargebacks may represent either full payment or, if set forth in a
        separate written agreement, installment payments for the items enumerated above.
        All deductions and chargebacks shall be itemized to the extent provided elsewhere
        in this Agreement, including Exhibit B if applicable. The amount of each deduction
        and chargeback shall be computed based on the actual cost or expense incurred by
        the Company. In the event the Company should assess any type of administrative
        charge or mark-up to the actual costs charged back to Contractor, the Company
        shall provide Contractor with prior written notice of the additional charges.
        Contractor hereby waives any objection to any chargeback or deduction item unless
        Contractor notifies Company of Contractor’s disagreement with such chargeback
        or deduction item within thirty (30) days from the date that the chargeback or
        deduction is made.

(Id. at 7).

        Plaintiffs and the class members also often signed promissory notes listing a total dollar

amount Diakon could take from their pay. (PSOF Resp. ¶9). The amounts were set out as

recurring weekly deductions that Diakon would take from the drivers’ settlement statements.

(See Dckt. #270-1). The promissory notes did not itemize the payments the driver had to make,



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nor did they provide any mechanism for a driver to revoke their consent to what amounted to a

deduction from their pay. (See Dckt. #45-1 at 14; Dckt. #45-2 at 13).

       Another section of the Service Agreement indicated that Diakon was authorized to deduct

certain charges from “settlements” to the extent those charges were paid on the drivers’ behalf by

Diakon. (See, e.g., Dckt. #247-8 at 12; Dckt. #274-9 at 12). The charges to be deducted

included, among other things, “Truck Rentals,” “Truck Fuel,” “Uniforms,” and “Truck

Washing.” (See, e.g., Dckt. #247-8 at 13; Dckt. #274-9 at 13). For example, Diakon could

facilitate weekly truck rentals from a third-party on a contractor’s behalf, then deduct the rental

amounts from the contractor’s settlement statements and forward those amounts to the truck

rental company. (DSOF Resp. ¶42). Johnson testified it was more efficient to rent his

company’s truck through the process Diakon facilitated than to purchase one, and Moore

testified that renting through Diakon was the cheapest option he could find. (Id. ¶43).

       Generally, the Service Agreement did not list a corresponding amount for the deductions.

(See, e.g., Dckt. #247-8 at 13; Dckt. #274-9 at 13). The only deductions in the Service

Agreement which contained specific dollar amounts were those associated with insurance. (See,

e.g., Dckt. #274-8 at 10–11; Dckt. #274-9 at 10). Defendants assert that plaintiffs “received

benefits from deductions including the convenience of Diakon facilitating payments” and

“evident savings” because they did not need to make “upfront purchases on the open market.”

(DSOF Resp. ¶36). Plaintiffs agreed they benefited from deductions related to insurance

coverage. (Id. ¶51).

       At the end of each week, Diakon issued settlement checks. (DSAF Resp. ¶18). Prior to

issuing a check, Diakon provided the contracting party (i.e., either the principal of the

transportation company or the individual driver, whichever entity signed the Service Agreement)




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a draft of the settlement statement. (Id.). The draft statement broke down the contractor’s gross

revenue for the week (based on the services provided by all their trucks) and each specific

expense charge scheduled to be taken from that gross revenue. (Id.). This process permitted the

contractors to review the drafts and challenge the calculation of the gross revenue or any charge-

back they thought was inappropriate or unauthorized. (Id.).

       C.      Procedural History

            In 2016, Plaintiffs filed a class action suit against Diakon for alleged violations of the

IWPCA. On January 23, 2020, the court certified the class as follows:

                   All delivery drivers who (1) signed a Service Agreement with
                   Diakon, (2) were classified as independent contractors, and (3) who
                   performed deliveries for Diakon and Sears in Illinois between June
                   28, 2006 and the present.

(Dckt. #185 at 5). Subsequently, both parties filed cross motions for summary judgment. The

court granted defendants’ motion on the grounds that Virginia substantive law, as the choice of

law identified in the Service Agreements, governed this dispute. (Dckt. #244 at 17). The

Seventh Circuit reversed and remanded. See Johnson I, 44 F.4th at 1050. The parties have

renewed and re-filed cross motions for summary judgment. The Court now resolves these

motions.

III.        ANALYSIS2

            On summary judgment, plaintiffs seek a ruling that: (1) they are employees under the

IWPCA; (2) the IWPCA applies to all work performed by class members in this case; and (3) the


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 As a federal court sitting in diversity, this Court applies state substantive law. Horne v. Electric Eel
Manufacturing Company, Inc., 987 F.3d 704, 713 (7th Cir. 2021). As previously established, the Court
has diversity jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. §1332(d)(2) (the “Act”) as
the class meets the Act’s requirement of minimal diversity. See Johnson I, 44 F.4th at 1050 (finding that
the certified “class satisfies the Act’s [jurisdictional] requirements” even when the two “more
complicated” (for jurisdictional purposes) defendants, since dismissed, remained in this suit).


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deductions taken from plaintiffs’ and class members’ pay violated the IWPCA. Defendants

oppose plaintiffs’ motion and separately seek a ruling that: (1) Diakon did not make deductions

from “wages” under the Service Agreements; and (2) Johnson and Moore’s individual claims

under the IWPCA fail because they either authorized each deduction or each deduction was

otherwise for their benefit. Jarnagin separately requests that the Court grant summary judgment

on plaintiffs’ claims against him. The Court addresses the parties’ arguments below.

   A.        The Drivers are Diakon’s Employees Under the IWPCA.

        Plaintiffs seek a ruling that the IWPCA applies to all work performed by the class

members in this case. The IWPCA’s protections apply “to all . . . employees” in Illinois. 820

ILCS 115/1. Thus, the threshold issue before the Court is whether plaintiffs and the class

members are “employees” of Diakon within the meaning of the IWPCA. For the reasons set

forth below, the Court finds that plaintiffs and the other class members are “employees” who can

assert IWPCA claims against Diakon.

        1.      The Court Reaches the Employment Element of Plaintiffs’ IWPCA Claim.

        As an initial matter, defendants argue that this Court need not analyze the employment

element of plaintiffs’ IWPCA claim because the Service Agreements that Diakon entered were

often with business entities owned by class members. (Dckt. #271 at 2). Defendants’

argument—which they previously raised in their motion to dismiss—is that “the absence of an

agreement to pay wages between a business owner, . . . individually, and Diakon vitiates the

IWPCA.” (Id.) (emphasis added). At the pleading stage, this Court determined that defendants’

argument was “not a winning one,” Johnson v. Diakon Logistics, No. 16-CV-06776, 2018 WL




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1519157, at *9 (N.D.Ill. Mar. 28, 2018). Defendants have not put forth any persuasive reason for

the Court to alter its prior conclusion on summary judgment.

       In effect, defendants ask this Court to disregard its prior ruling and violate the law of the

case doctrine. The law of the case doctrine establishes a presumption that a ruling made at one

stage of a lawsuit will be adhered to throughout the remainder of the suit. Williams v. Comm’r, 1

F.3d 502, 503–04 (7th Cir. 1993). A court will only reexamine an earlier ruling by the same

court if it has a reasonable conviction that the earlier ruling was wrong, and if rescinding it

would not cause undue harm to the party that benefited from it. Avitia v. Metro. Club of Chicago,

Inc., 49 F.3d 1219, 1227 (7th Cir. 1995).

       This Court previously held that a formal agreement between the parties was not required

under the IWPCA, and it could reasonably infer from Johnson’s allegations that the parties

agreed to form an employment relationship with the “option of having . . . payments going

through the company, [EZ Techniques], that [Johnson] owned.” Johnson, 2018 WL 1519157, at

*9. Defendants provide no persuasive reason to conclude this Court’s prior ruling (which is in

accord with decisions from other courts) was wrong. See e.g., Hill v. Cargo Runner Co., No. 22-

CV-00910, 2023 WL 6213674, at *14 (N.D.Ill. Sept. 25, 2023) (“Illinois and the Seventh Circuit

frequently reject these end-runs [of the IWPCA] and find a plausible employment agreement

with individuals, even if the individuals were paid through a corporate entity.”) (citing Johnson);

Bruger v. Olero, Inc., 434 F.Supp.3d 647, 655–57 (N.D.Ill. 2020) (concluding the fact that the

plaintiffs signed their agreements in their capacities as sole owners of corporate entities was not

dispositive of whether they were “employees” under the IWPCA); Vera v. HomeDeliveryLink,

Inc., No. 23 CV 14278, 2025 WL 20468, at *5 (N.D.Ill. Jan. 2, 2025) (“Similarly, that a driver

has incorporated as an LLC does not necessarily alter the analysis of whether the driver is an




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employee under the [IWPCA].”) (citing Johnson and Bruger); Patel v. 7-Eleven, Inc., No. 18 C

07010, 2019 WL 3554438, at *4 (N.D.Ill. Aug. 5, 2019) (analogizing Johnson to its facts and

stating the court was “not aware of any law creating a hard-and-fast rule that prohibits a

franchisee corporation’s sole owner from qualifying as an employee of the franchisor under the

IWPCA.”).3

        Accordingly, the Court finds that the fact that certain class members opted to sign the

Service Agreements through their companies, rather than individually, does not vitiate their

IWPCA claims.

        2.      Defendants Fail to Establish All Three Prongs of the Independent Contractor
                Exemption.

        As mentioned above, the IWPCA applies only to employees. The IWPCA regards all

individuals who work for an employer to be employees unless they meet the statute’s

independent-contractor exemption, which excludes from the statutory definition of an employee

any individual:

             (1) who has been and will continue to be free from control and direction over
             the performance of his work, both under his contract of service with his
             employer and in fact; and

             (2) who performs work which is either outside the usual course of business or
             is performed outside all of the places of business of the employer . . .; and

             (3) who is in an independently established trade, occupation, profession or
             business.

820 ILCS 115/2.

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  Neither Enger v. Chicago Carriage Cab Co., 812 F.3d 565, 570 (7th Cir. 2016) nor Kiebala v. Boris, No.
1:16 CV 7478, 2017 WL 4339947, at *4 (N.D.Ill. Sept. 29, 2017), aff’d, 928 F.3d 680 (7th Cir. 2019)—on
which defendants rely—demand a different conclusion. In Enger, the cab drivers, unlike the drivers here,
“admitted in their complaint that they ‘receive[d] no wages.’” 812 F.3d at 569. In Kiebala—a non-
IWPCA case—the court held Kiebala could not prevail where, unlike here, he sought to recover for
injuries that were derivative of injuries to his companies’ profitability. 2017 WL 4339947, at *4. In
Kiebala, the plaintiff’s luxury car share business was not synonymous with its individual owner, unlike
the plaintiff businesses in this case.


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        This test, commonly referred to as the “ABC Test,” is conjunctive, which means an

employer must satisfy all three prongs to classify a worker as an independent contractor.

Costello v. BeavEx, Inc., 810 F.3d 1045, 1050 (7th Cir. 2016).4 If an employer cannot

demonstrate that a worker satisfies each prong of the ABC Test, then the worker is considered an

employee and is protected by the IWPCA. See, e.g., Byung Moo Soh v. Target Mktg. Sys., Inc.,

817 N.E.2d 1105, 1109 (Ill.App. 2004) (“a person who does not fit all three requirements cannot

be excluded from the class of people who are to be considered employees under this section of

the [IWPCA].”). Thus, the burden of proof lies with Diakon to show that plaintiffs and the other

class members were independent contractors. AFM Messenger Serv. v. Dep’t of Emp. Sec., 763

N.E.2d 272, 283 (Ill. 2001).

        Here, Diakon fails to present evidence to satisfy the second element of the ABC Test;

namely, that plaintiffs performed work which was either outside Diakon’s usual course of

business or places of business.

        It is undisputed that Diakon holds itself out as a logistics provider which helps its

customers arrange retailers’ products and orders for delivery. It is also undisputed that to provide

these services, Diakon relies on plaintiffs and other delivery drivers. The work performed by the


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  Defendants argue that if the Court does assess the employment element of plaintiffs’ IWPCA claim,
“plaintiffs must first establish that Diakon employs each class member though a joint employment
analysis before the ABC Test comes into play.” (Dckt. #271 at 3). Defendants are incorrect. Courts are
clear that whether a driver has incorporated does not alter the analysis of whether the driver is an
“employee.” See Costello v. BeavEx Inc., 303 F.R.D. 295, 299, 310 (N.D.Ill. 2014), aff’d in part, vacated
in part on other grounds, 810 F.3d 1045 (7th Cir. 2016) (proceeding directly to the ABC analysis where
the defendant delivery service used drivers who were incorporated); Bruger, 434 F.Supp.3d at 655–57
(finding plaintiffs’ work was done “within defendants’ usual course of business” where plaintiffs signed
their agreements in their capacities as sole owners of corporate entities); Ware v. Indus. Comm’n, 743
N.E.2d 579, 585–86 (Ill.App. 2000) (the fact that a truck driver had incorporated did not “significantly
alter the analysis” as to whether the driver was an employee under the Workers’ Compensation Act, where
he had no customers of his own and worked exclusively for a single carrier company).




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class members in this case—furniture and appliance deliveries—thus falls squarely within

Diakon’s “course of business.” See e.g., Prokhorov v. IIK Transp., Inc., No. 20 CV 6807, 2024

WL 3694523, at *8 (N.D.Ill. Aug. 7, 2024) (“Here, drivers are necessary for IIK’s business,

which by its own admission is to provide freight-delivery services. . . And truck drivers perform

work in IIK’s usual course of business because ‘the act of driving is necessary to the

business.’”); Niiranen et al. v. Carrier One Inc., et al., No. 20-CV-06781, 2025 WL 885701

(N.D.Ill. Mar. 22, 2025) (“As one of the drivers tasked with transporting freight for Carrier One’s

customers, Treadway’s work is essential to Carrier One’s business”).

       It is also undisputed that plaintiffs and the other class members perform their work at

Diakon’s “places of business” because they are required to pick up goods at Diakon’s facility in

Romeoville, Illinois. And even if the drivers did not report to Romeoville routinely, they still

performed their work at Diakon’s place of business because in cases involving delivery services,

the “place of business extend[s] to the delivery routes that drivers took regardless of whether

those routes crossed state lines.” Prokhorov, 2024 WL 3694523, at *8; see also Niiranen, 2025

WL 885701, at *18 (“[G]iven the nature of a freight transportation business, Carrier One’s place

of business encompasses the roadways on which its drivers travel.”).

        Thus, Diakon has failed to carry its burden to show that the class members satisfy the

second prong of the ABC test. Niiranen, 2025 WL 885701, at *18–19 (finding defendants failed

to meet their burden on the second prong of the independent contractor exemption where the

drivers’ work was performed both in the employer’s usual course of business and at its usual

places of business); NPF Racing Stables, LLC v. Aguirre, No. 18 C 6216, 2020 WL 1322849, at

*7 (N.D.Ill. Mar. 20, 2020) (concluding the independent contractor exception did not apply

where the plaintiff adequately alleged that she conducted her work at NPF’s place of business




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and in the usual course of business.). It is well-settled that “the inability to satisfy any one of the

conditions defeats a claim that the exemption applies.” O’Malley v. Udo, 198 N.E.3d 323, 336

(Ill.App. 2022); Costello, 810 F.3d at 1059 (“Because the test is conjunctive, if BeavEx cannot

satisfy just one prong of the test, its couriers must be treated as employees.”). Consequently, the

Court finds that the class members are employees of Diakon under the IWPCA.5 See Niiranen,

2025 WL 885701, at *19 (concluding that plaintiff was an employee who could assert an IWPCA

claim where defendants failed to establish the second prong of the IWPCA’s independent

contractor exemption).

     B.      The IWPCA Applies to the Drivers’ Work Inside and Outside of Illinois.

          Defendants argue that even if the class members are employees under the IWPCA,

defendants are entitled to summary judgment regarding all work performed outside of Illinois

because the IWPCA applies only to work performed within this state.

          Multiple courts have addressed the quantum of work that must be performed in Illinois to

come under the umbrella of the IWPCA. In Watts v. ADDO Mgmt., L.L.C., for example, the

Illinois Appellate Court found the phrase “in this State,” as it is used in the IWPCA, to be

ambiguous. 97 N.E.3d 75, 81 (Ill.App. 2018). The court then turned to the Illinois Department

of Labor’s (“IDOL”) interpretation for guidance. Id. Upon reviewing IDOL’s regulations and

their amendments, the court found it “clear that the [IWPCA’s] application is not limited to any

specific quantum of work performed in Illinois, but, in fact, may apply in certain circumstances



5
  The Court notes that fact that the Service Agreements refer to the drivers as “contractors,” and not
employees, is not dispositive as to whether they are “employees” under the IWPCA. To the contrary,
“[c]ourts in Illinois routinely disregard contractual language classifying workers as contractors or
consultants” when determining employer status under the IWPCA. Johnson I, 44 F.4th at 1050. Instead,
“the critical test for determining whether plaintiffs count as employees for purposes of the [IWPCA]
comes from the statute rather than a contract.” Id. Thus, a contract declaring the plaintiff to be an
independent contractor is, in the Seventh Circuit’s words, “irrelevant, no matter what it says.” Id.


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even where all of the work is performed outside of this state.” Id. at 82 (emphasis added); see

also Das v. Tata Consultancy Servs. Ltd., 118 F.4th 903, 908–09 (7th Cir. 2024) (explaining that

IDOL regulations are persuasive guidance and, further, that “Illinois values the opinion of the

agency charged with the administration and enforcement of the statute.”) (cleaned up).

        Similarly in Prokhorov, which followed Watts, the court reiterated that the IWPCA

“applies to all employers and employees” in Illinois, and that the IWPCA’s “‘application is not

limited to any specific quantum of work performed in Illinois.’” Prokhorov, 2024 WL 3694523,

at *6, quoting Watts, 97 N.E.3d at 82. More recently, in Niiranen, the court found evidence that

plaintiff performed some work in Illinois was “enough . . . for him to maintain a claim under the

IWPCA . . .” on summary judgment. Niiranen, 2025 WL 885701, at *17.

        This Court is persuaded by Watts, Prokhorov, and Niiranen—as well as the multiple other

courts that have followed Watts—and finds that the IWPCA applies to all work performed by

plaintiffs and the class members on behalf of Diakon, whether inside or outside of Illinois, given

that plaintiffs have performed some work in Illinois.6 See Tsybikov v. Dovgal, No. 19 C 3334,

2023 WL 4029823, at *2 (N.D.Ill. June 15, 2023) (relying on Watts to find the IWPCA applied to

work performed by delivery truck drivers outside Illinois on summary judgment); Psifidis v.

Dearborn Life Ins. Co., No. 4:23-CV-01825, 2024 WL 794537, at *2 (S.D.Tex. Feb. 22, 2024)

(“But application of IWPCA ‘is not limited to any specific quantum of work performed in

Illinois.’”) (citing Watts); Piquion v. Amerifreight Sys. LLC, No. 22 C 5690, 2023 WL 8113379,

at *18 (N.D.Ill. Nov. 22, 2023) (same); Yata v. BDJ Trucking Co., No. 17 CV 3503, 2018 WL

3303290, at *5 (N.D.Ill. July 5, 2018) (same).


6
 This Court agrees with the Watts court’s holding that it was improper for the trial court to rely on a
calculation of the percentage of work performed by the plaintiffs in Illinois as grounds for dismissal. 97
N.E.3d at 82.


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       Diakon cites to three cases to support its position that only work performed in Illinois is

covered by the IWPCA. (See Dckt. #279 at 18 (citing Johnson I, 44 F.4th at 1052–53; Glass v.

Kemper Corp., 133 F.3d 999, 1000 (7th Cir. 1998)); Dckt. #298 at 1-2 (citing Cline v. FitzMark

Chicago, Inc., No. 21-CV-04253, 2023 WL 2711615, at *7 (N.D.Ill. Mar. 30, 2023)). These

cases, however, do not support Diakon’s position.

       In Johnson I, Diakon initially argued that the substantive law should be that of Virginia,

the jurisdiction named in the contract, but the Seventh Circuit rejected that argument. Johnson I,

44 F.4th at 1053. In the course of resolving this choice of law dispute, the Seventh Circuit noted

that the IWPCA “governs payment for work in Illinois regardless of what state’s law governs

other aspects of the parties’ relations,” and that “[t]he contractual clauses on which Diakon relies

do not apply to claims brought under the Act based on work done in Illinois.” Id. at 1052–53.

The Seventh Circuit was not presented with the question of whether out-of-state work performed

by an employee who is covered by the IWPCA is within the scope of a statute, and it did not

address the issue. See Yata, 2018 WL 3303290, at *5 (“No court of binding authority has set

forth a minimum quantum of work in Illinois to qualify as an employee under the [IWPCA].”).

       In Glass, the Seventh Circuit affirmed the dismissal of the plaintiff’s IWPCA claim

where the plaintiff—who was never an Illinois resident and performed no work for the defendant

Illinois company while he was in Illinois—performed all his work for the company on a remote

basis while he was in Spain. Glass, 133 F.3d at 1000. Similarly, in Cline, the court granted a

motion to dismiss that contained no allegations of any work done in Illinois. Cline, 2023 WL

2711615, at *7. Thus, while Glass and Cline “set the outer boundary for the [IWPCA’s] reach—

a [worker] who performed no work in Illinois,” they do not “otherwise establish a minimum

threshold for coverage” under the IWPCA. Prokhorov, 2024 WL 3694523, at *6 (“I reiterate




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that Watts is not inconsistent with Glass. While Glass set the outer boundary for the Act’s

reach—a non-resident who performed no work in Illinois and exclusively worked in Spain did

not qualify for the Act’s protection—it did not otherwise establish a minimum threshold for

coverage.”) (emphasis in original); see also Tsybikov, 2023 WL 4029823, at *2 (differentiating

Glass because the plaintiff was a foreign national who did 100 percent of his work in Spain).

        Accordingly, the Court grants plaintiffs’ motion for summary judgment to the extent it

seeks a ruling that the IWPCA applies to all work performed by class members in this case.

   C.      Diakon Took Deductions from the Drivers’ “Wages” as Defined by the IWPCA.

        The IWPCA applies only to “deductions by employers from wages.” 820 ILCS 115/9.

The IWPCA has been amended to define wages broadly. In re Montalbano, 486 B.R. 436, 441–

42 (Bankr. N.D.Ill. 2013); Becker v. Crane Co./Valve Div., No. 90 C 1528, 1991 WL 4429, at *4

(N.D.Ill. Jan. 17, 1991) (“This definition of wages is very broad.”). Under the IWPCA, “wages”

are “any compensation owed an employee by an employer pursuant to an employment contract

or agreement between the two parties, whether the amount is determined on a time, task, piece,

or any other basis of calculation.” 820 ILCS 115/2 (emphasis added). The IWPCA “does not

define ‘compensation,’ but the Seventh Circuit has defined the term as ‘payment for value

received or service rendered.’” Bell v. Bimbo Foods Bakeries Distrib., Inc., No. 11 C 3343, 2013

WL 6253450, at *4 (N.D.Ill. Dec. 3, 2013), quoting Bock v. Comput. Assocs. Int’l, Inc., 257 F.3d

700, 706 (7th Cir. 2001).

        The draft statements at issue here break down the driver’s gross revenue for the week—

based on services rendered—and identify specific expenses scheduled to be taken from that gross

revenue. (Dckt. #274-10). This gross revenue undoubtedly constitutes “wages” owed to the




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drivers—under the IWPCA’s broad definition—and absent the deductions, would otherwise be

paid to the drivers.

          Diakon’s argument that they did not make any deductions from “wages” because under

the Service Agreements “wages are calculated net of any deductions,” is unpersuasive. (Dckt.

#273 at 11) (cleaned up). In particular, Diakon contends that “[b]ecause the Service Agreements

only calculate alleged ‘wages’ after accounting for or assigning responsibility for any chargeback

amounts, it did not deduct any amounts from [p]laintiffs’ ‘wages,’ and no violation of the

IWPCA therefore occurred.” Id. 7 However, as Johnson I made clear, courts are guided by the

IWPCA, “rather than a contract,” to determine whether a plaintiff falls under its protection.

Johnson I, 44 F.4th at 1050; see also id. at 1053 (“Diakon’s duty to make only proper deductions

from the drivers’ wages flows from the Act, not the contracts.”). Thus, the fact that the contracts

appear to define “wages” to include an amount due the drivers net of the deductions is not

dispositive. The Court therefore concludes that Diakon’s deductions were taken from the

drivers’ “wages” under the IWPCA.

     D.          The Propriety of Diakon’s Deductions from Plaintiffs’ Wages.

          The IWPCA prohibits employers from taking improper deductions from an employee’s

paycheck unless the deductions are: (1) “required by law;” (2) “to the benefit of the employee;”

(3) “in response to a valid wage assignment or wage deduction order;” or (4) “made with the

express written consent of the employee, given freely at the time the deduction is made.” 820

ILCS 115/9. While an employer can establish a deduction is lawful under any one of these


7
  Diakon’s reliance on Enger is misplaced because the plaintiff cab drivers admitted they did not receive
wages. Enger, 812 F.3d at 569. Diakon’s reliance on the Second Circuit’s non-precedential order in
Green v. RXO Last Mile, Inc., No. 23-1239, 2024 WL 4315032, at *2–3 (2d Cir. Sept. 27, 2024), is
likewise misplaced. In that case, the court held that Connecticut’s statutory scheme allows parties to
agree to use formulas to determine wages under Connecticut’s Minimum Wage Act. Id. As such, Green
is inapposite because it involved a different statute with a different definition of “wages.”


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exceptions, the employer bears the burden of proof to demonstrate the expectation is applicable.

Perry v. Krieger Beard Servs., LLC, No. 3:17-CV-161, 2020 WL 4931834, at *3 (S.D.Ohio Aug.

24, 2020), report and recommendation adopted, No. 3:17-CV-161, 2020 WL 5629687 (S.D.Ohio

Sept. 21, 2020) (citing 56 Ill. Admin Code tit. 56, §300.71).

       Diakon contends that even if the IWPCA applies, the class members are properly

classified as employees, and it took deductions from the employees’ wages, it still did not violate

the IWPCA because any deductions were either properly authorized or benefited the drivers.

Plaintiffs claim that defendants violated the IWPCA when they made deductions for truck

rentals, insurance coverage, workers’ compensation/occupational accident insurance premiums,

customer damage, and problem delivery costs. The Court addresses these arguments below.

       1.      No Reasonable Factfinder Could Find that Diakon’s Deductions for Problem
               Deliveries and Customer Damage Claims Were Authorized.

       The IWPCA provides an exception for deductions “made with the express written consent

of the employee, given freely at the time the deduction is made.” 820 ILCS 115/9(4). As

explained above, courts look to state regulations from the IDOL to guide their interpretation of

this provision of the IWPCA. See Das, 118 F.4th at 908–09; see also Watts, 97 N.E.3d at 81

(turning to IDOL regulations to construe an undefined term in the IWPCA).

       The IDOL regulations—in place at the time of the deductions at issue—provided that:

               a) Any written agreement between employer and claimant
               permitting or authorizing deductions from wages or final
               compensation must be given freely at the time the deduction is
               made. . .

               b) When a deduction is to continue over a period of time and the
               written agreement provides for that period of time, provides for the
               same amount of deduction each period and allows for voluntary
               withdrawal for the deduction, the agreement shall be considered to
               be given freely at the time the deduction is made.




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Ill Admin. Code tit. 56, §300.720 (2014).8

        Defendants argue that plaintiffs gave their express written consent to the deductions at

issue when they executed the Service Agreements and promissory notes. The Court disagrees

and finds no genuine dispute of material fact as to whether plaintiffs provided express written

consent to these deductions under §300.720(a). The record shows that they did not do so. The

fact that the Service Agreements contained provisions generally describing types of deductions

that could be taken from the drivers’ pay does not establish freely given written consent.

Prokhorov, 2024 WL 3694523, at *9; Johnson, 2018 WL 1519157, at *8 (“The regulations

support the idea that a proper consent entails the employee having some idea what the actual

deductions would be.”).

        Nor does the fact that the settlement process allowed the drivers to challenge their

charges for problem deliveries and customer dispute claims establish freely given written

consent. Allowing drivers to dispute charges (i.e., opt-out) is not the same as obtaining freely

given authorization to take deductions at the time the deduction is taken (i.e., opt-in). See

Balderrama-Baca v. Clarence Davids & Co., No. 15 C 5873, 2019 WL 1057193, at *6 (N.D.Ill.

Mar. 6, 2019) (finding defendants violated the IWPCA where uniforms were mandatory and

plaintiffs were not given the option as to whether to consent to the uniform rental deduction); see

also Hernandez v. Midland Credit Mgmt., Inc., No. 04 C 7844, 2006 WL 695451, at *7 (N.D.Ill.

Mar. 14, 2006) (comparing one statute that “permits an opt-out rather than an opt-in regime”

with respect to third-party disclosures to another statute); Cellco P’ship v. Hatch, 431 F.3d. 1077,




8
  In 2023, IDOL amended §300.720(b) to add: “No agreements for a defined duration of time shall last
longer than six months.” See Ill Admin. Code tit. 56, §300.720(b). The 2023 amendments do not apply
here because plaintiffs’ agreements were executed before these amendments were enacted. Perry v. Dep’t
of Fin. & Pro. Regul., 106 N.E.3d 1016, 1020 (Ill. 2018); Prokhorov, 2024 WL 3694523, at *9.


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1083 (8th Cir. 2005) (discussing the differences between opt-in and opt-out contractual

provisions); United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 841 (2000) (Breyer, J.

dissenting) (discussing how an opt-out statutory provision “work[s] differently in order to

achieve very different legislative objectives” compared to an opt-in statutory provision.).

        The Court further finds no genuine dispute of material fact as to whether plaintiffs

provided express written consent to these deductions under §300.720(b). They did not do so. As

this Court previously recognized, there is no indication in the record that the customer damage

claim and problem delivery deductions were deducted on a regular basis. See Johnson, 2018 WL

1519157, at *8 (explaining that the regulations “support the idea that a proper consent entails the

employee having some idea what the actual deductions would be.”); Noe v. Smart Mortg.

Centers, Inc., No. 1:21-CV-01668, 2024 WL 4346562 (N.D.Ill. Sept. 29, 2024) (citing Johnson

for the same). Moreover, even assuming that the deductions could be categorized as ongoing or

recurring, the Service Agreement provides no notice about the duration of the deductions, the

amount of the deductions, or a method for voluntary withdrawal. See, e.g., Dkt. 274-9.9

        Because the deductions for customer damage claims and problem deliveries were not

authorized by drivers at the time the deductions were made, nor were they deducted on a specific

schedule provided by the Service Agreement, no reasonable factfinder could find that these

deductions were made in accordance with the IWPCA. See, e.g., Balderrama-Baca, 2019 WL

1057193, at *6; Hill, 2023 WL 6213674, at *15. Defendants’ motion for summary judgment on




9
  Defendants’ reliance on Bell v. Bimbo Foods, supra, and Osorio v. The Tile Shop, LLC, No. 15 C 15,
2016 WL 316941 (N.D.Ill. Jan. 27, 2016) is misplaced. Bell is distinguishable because there was no
dispute that the signed agreement authorized the employer to make weekly deductions of $56.88 for
computer-related costs from the employee’s paycheck. Bell, 2013 WL 6253450, at *5. And, Osorio is
likewise inapposite because, unlike here, “Osorio knew exactly how much of each paycheck he would be
required to give up.” Johnson, 2018 WL 1519157, at *8 (citing Osorio, 2016 WL 316941, at *2).


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the issue of deductions for problem deliveries and customer damage claims is denied and

plaintiffs’ motion for summary judgment on the merits of this issue is granted.

         2.     The Deductions for Liability Insurance Coverage and Truck Rentals Were
                Proper Under the IWPCA Because They Were Taken for the Employees’
                Benefit.

         Defendants assert that the deductions it made for liability insurance coverage and truck

rentals were proper under the IWPCA because they were to the drivers’ benefit.10 Courts have

explained that it is the deduction—not the expense itself—that must be to the benefit of the

employee. Prokhorov, 2024 WL 3694523, at *11; Bell, 2013 WL 6253450, at *4.

         Here defendants proffer evidence that “plaintiffs received benefits from deductions

including . . . convenience . . . and the evident savings” because they did not have to make

“upfront purchases on the open market.” (Dckt. #283 at n.4, quoting DSOF Resp. ¶36).

Defendants also proffer evidence that plaintiffs “agreed they benefited from deductions related to

insurance coverage,” (Dckt. #283 at n.4, quoting DSOF Resp. ¶51), and that plaintiffs testified it

was cheaper or more efficient to rent trucks through the process Diakon facilitated than to

purchase trucks. (DSOF Resp. ¶43). Moreover, in their response to Diakon’s statement of

material facts, plaintiffs do not dispute that the deductions related to insurance coverage and

truck rentals were of benefit to them, provided convenience, and proved cheaper than other

options. (See DSOF Resp. ¶¶36, 43, 51).11 Defendants are therefore entitled to summary


10
  Diakon also argues that the insurance coverage and truck rental deductions were made with the express
written consent of the drivers. Because the Court finds that the deductions are otherwise permitted as a
benefit to the employees, it need not reach this argument.
11
  Under Local Rule 56.1, a nonmoving party must provide a response that either admits or denies each of
the moving party’s statements of fact and must support any denials with specific citation to affidavits,
parts of the record, or other supporting evidence. See N.D.Ill. Local Rule 56.1(b)(3). Where the opposing
party fails to identify such materials, the moving party’s allegations, where properly supported, will be
deemed admitted. Id. Here, plaintiffs cite evidence that does not actually dispute Diakon’s proffered
facts and, as a result, Diakon’s facts are deemed admitted where properly supported.


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judgment with respect to the insurance coverage and truck rental deductions. Niiranen, 2025 WL

885701, at *20 (granting summary judgment in defendants’ favor where defendants

“substantiated the benefit of [the] deductions.”).

       3.      The Court Cannot Determine Whether Diakon’s Deductions for Workers’
               Compensation/Occupational Accident Insurance Premiums Were Authorized
               Under the IWPCA Based on the Present Record.

       The parties agree that Diakon made deductions for workers’ compensation/occupational

accident insurance premiums. Plaintiffs assert that these deductions are “per se illegal” because

“Diakon is required by Illinois law to provide employees with workers’ compensation insurance”

and “Illinois has a strong public policy to insure the protection of workers covered by the

Workers’ Compensation Act.” (Dckt. #269 at 13–14). Diakon, for its part, asserts that plaintiffs

agreed to obtain workers’ compensation/occupational accident insurance in their Service

Agreements, and that the deductions benefited plaintiffs by enabling them to obtain the insurance

coverage at a more competitive price and with less administrative burden than obtaining the

insurance on the open market. (Dckt. #279 at 16).

       Plaintiffs are correct that Illinois law requires employers to provide employees with

workers’ compensation insurance, see Illinois Ins. Guar. Fund v. Virginia Sur. Co., 979 N.E.2d

503, 513 (Ill.App. 1992), and this Court agrees that “permit[ting] an employer to transfer to its

employees the cost of workers’ compensation insurance premiums would be inconsistent with

both the general intent and the specific language of the Workers’ Compensation Act.” Awuah v.

Coverall N. Am., Inc., 952 N.E.2d 890, 899 (Mass. 2011). Consequently, if plaintiffs are

“employees” for purposes of the Illinois Workers’ Compensation Act (“IWCA”), Diakon’s

deduction for plaintiffs’ wages to pay for the workers’ compensation insurance premiums would




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be improper. On the other hand, if plaintiffs are not “employees” under the IWCA, the

deductions would be proper because they were “to the benefit” of plaintiffs under the IWPCA.

        Unfortunately, neither side has addressed the issue of whether plaintiffs are “employees”

for purposes of the IWCA. Moreover, because the standards for determining whether a person is

an “employee” under the IWPCA and the IWCA are different, compare 820 ILCS 115/2 with 820

ILCS 305/1(b)(2), the Court’s finding that plaintiffs are “employees” under the IWPCA is not

dispositive. Given that the record on this issue is not sufficiently developed, neither side is

entitled to summary judgment on the issue of whether Diakon’s deductions for workers’

compensation insurance premiums were appropriate.

   E.      Jarnagin is Not Personally Liable.

        In order for plaintiffs to prevail on their claim against Jarnagin, they must establish that

he knowingly committed a violation under the IWPCA. To “knowingly permit” under the

IWPCA means “to [] advise, consent, affect, or consult.” Cullotta v. United Surgical Partners

Int’l, Inc., No. 19-cv-06490, 2021 WL 3367193, at *9 (N.D.Ill. Aug. 3, 2021); Gibbs v. ABT

Elecs., Inc., No. 21 CV 6277, 2022 WL 16540182, at *3–4 (N.D.Ill. Oct. 28, 2022). To that end,

general evidence that an individual is a “decision maker” is not enough to state a claim under the

IWPCA—let alone defeat summary judgment—without evidence that the decisionmaker

“actually ‘knowingly permitted’” IWPCA violations. Gibbs, 2022 WL 16540182, at *4.

        Jarnagin testified that (1) “he has no direct responsibility for the classification of workers

in Illinois and he has never been involved in setting policies related to settlement deductions or

settlement check processing for any independent contractor drivers” and (2) that “he does not

review or personally sign settlement statements or the checks attached to settlement statements.”

(Dckt. #267 at 6, quoting Dckt. #213-6 at 3). Plaintiffs do not directly dispute either fact, so




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these facts are admitted. See, e.g., Hall v. Nicholson, 584 F.Supp.3d 589, 591 (N.D.Ill. 2022)

(considering admitted all facts “not ‘controverted with specific citations to evidentiary

material’”). And, when taken together, these two facts bar any individual liability under the

IWPCA. See Gibbs, 2022 WL 16540182, at *4 (citation omitted) (“Being a ‘decision maker,’

without knowing permission of the alleged IWPCA violation, is not sufficient to state an IWPCA

claim against [a person] in his personal capacity.”).

       Plaintiffs argue that Jarnagin’s denials create a genuine issue of material fact, however,

plaintiffs point to no evidence in the record that disputes the content of his testimony. See Liu v.

T&H Machine, Inc., 191 F.3d 790, 796 (7th Cir. 1999) (“A party must present more than mere

speculation or conjecture to defeat a summary judgment motion.”); see also Fed.R.Civ.P.

56(e)(2) (“If a party fails to properly support an assertion of fact or fails to properly address

another party’s assertion of fact as required by Rule 56(c), the court may . . . consider the fact

undisputed for purposes of the motion.”). Because plaintiffs cannot point to any evidence in the

record to establish that Jarnagin had the requisite knowledge for liability, they cannot prevail on

their claim against Jarnagin and his motion for summary judgment (Dckt. #265) is granted.

                                              CONCLUSION

       For the reasons stated above, defendant Jarnagin’s motion for summary judgment, (Dckt.

#265), is granted; plaintiffs’ motion for summary judgment, (Dckt. #268), is granted in part and

denied in part; plaintiffs’ renewed motion, (Dckt. #264), is granted; and defendant Diakon’s

motion, (Dckt. #272), is granted in part and denied in part.

Date: March 31, 2025

                                                               ________________________
                                                               Jeffrey I. Cummings
                                                               United States District Court Judge


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